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                                                        November 13, 2017


    Honorable Brian R. Martinotti, U.S.D.J.
    United States District Court
    District of New Jersey
    Clarkson S. Fisher Federal Building
    402 E. State Street
    Trenton, New Jersey 08608


         In Re: Invokana (Canagliflozin) Products Liability Litigation; MDL No. 2750
                (Response to Motion to Resign from Plaintiff’s Steering Comm., Dkt. No. 235)

  Dear Judge Martinotti:

         We write on behalf of the PSC and in response to the Motion to Resign from the Plaintiff
  Steering Committee filed by Jason Webster on October 10, 2017. While the PSC regrets Mr.
  Webster’s decision to withdraw from the PSC, we do not oppose his motion.

          As the Court may recall, Mr. Webster and his colleagues sought membership onto the PSC
  in January 2017 and at that time, represented to this Court that they had 700 cases. See Jan. 12,
  2017 Status Conf. Tr. at 8:16-24. On October 2, 2017, Mr. Webster advised the PSC that he needed
  to resign from the committee due to "time constraints." Five days later, he filed a formal motion
  with the Court to resign from the PSC, purporting to have resolved all of his firm's diabetic
  ketoacidosis claims "shortly" after formation of the MDL. Mr. Webster is now seeking to be
  relieved of his obligations to the PSC. While his resignation is unfortunate, it is not opposed, and
  the PSC wishes him well in his other matters.

          However, before his motion is granted, the PSC must ensure that any settlement agreement
  entered into by Defendants and Mr. Webster on behalf of his clients complies with CMO 6, the
  Common Benefit Order (“CMO 6”). As the Court is aware, this CMO applies to all attorneys who
  executed a Participation Agreement (Exhibit A to CMO 6), were PSC members, or were counsel
  with cases filed in federal court. Mr. Webster obviously meets at least two of these requirements.
  Presently, we do not know the timing of Mr. Webster’s settlements. As the Court is aware, CMO
  6 requires a holdback of a small percentage of settlement funds to pay for common benefit
  expenses (i.e. expenses that benefit all plaintiffs - like court transcripts, expert witnesses for the
  case as well as Science Day, document review, and more), as well as common benefit fees (which
  are designed to compensate the attorneys who contributed work and time and effort to the common
  benefit of the overall case). The amount to be held back is dependent upon when such settlements
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  occur. While, there has yet to be any determination of the amount of common benefit expenses or
  common benefit fees incurred for prosecuting the Invokana MDL, the PSC must nevertheless
  ensure that Mr. Webster and Defendants comply with CMO 6.

         The PSC hopes to discuss this matter with Mr. Webster and counsel for Defendants in the
  coming days or weeks. As such, the PSC respectfully requests that the Court defer granting Mr.
  Webster’s motion at this time, so that the parties can meet and confer over the holdback
  requirements of CMO 6 and, if necessary, set this matter for hearing during the December 6, 2017,
  case management conference.

         As always, we thank the Court for its time and courtesies.

                                                      Respectfully submitted,

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                                                      Plaintiffs’ Co-Lead Counsel


  cc: All Counsel of Record (via ECF)




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